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                                 #:1607




              Exhibit J
                 to Declaration of Nilay U. Vora




                                                                Exhibit J
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                                 #:1608


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 10    Jeffrey Atteberry (SBN 266728)
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 13    Attorneys for Plaintiffs
 14                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 15                               WESTERN DIVISION

 16   PAUL SNITKO, JENNIFER                    Case No. 2:21-cv-04405-RGK-MAR
      SNITKO, JOSEPH RUIZ, TYLER
 17   GOTHIER, JENI VERDON-                    PLAINTIFFS’ NOTICE OF
      PEARSONS, MICHAEL STORC,                 DEPOSITION OF SPECIAL
 18   and TRAVIS MAY,                          AGENT JUSTIN PALMERTON
 19                          Plaintiffs,
                                               DISCOVERY MATTER
 20               v.
 21   UNITED STATES OF AMERICA,                Date:     April 28, 2022
      TRACY L. WILKISON, in her                Time:     9:00 A.M. PDT
 22   official capacity as Acting United       Location: Virtually, via Zoom
      States Attorney for the Central
 23   District of California, and KRISTI
      KOONS JOHNSON, in her official          Judge: Hon. R. Gary Klausner
 24   capacity as an Assistant Director of
      the Federal Bureau of Investigation,    Complaint Filed: May 27, 2021
 25
                            Defendants.       Amended Complaint Filed: June 9, 2021
 26

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                                                                      Exhibit J
              PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT JUSTIN PALMERTON
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Case 2:21-cv-04405-RGK-MAR Document 95-11 Filed 04/21/22 Page 3 of 7 Page ID
                                 #:1609


  1         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of
  2   Civil Procedure, Plaintiffs, by and through their counsel, will take the oral
  3   deposition of Special Agent Justin Palmerton before a certified court reporter
  4   authorized to administer oaths and record via stenographic means. The deposition
  5   will take place virtually, via Zoom at 9:00 A.M. PDT on April 28, 2022. The
  6   deposition will continue from day to day subject to appropriate adjournments until
  7   such time as it is completed.
  8
      Dated: April 19, 2022
  9                                             Respectfully Submitted,

 10

 11                                                                                     s
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                                                 *Admitted pro hac vice.
 20                                              ^Motion for pro hac vice pending.
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                                                 Attorneys for Plaintiffs
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                                                 2                          Exhibit J
               PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT JUSTIN PALMERTON71
Case 2:21-cv-04405-RGK-MAR Document 95-11 Filed 04/21/22 Page 4 of 7 Page ID
                                 #:1610


  1                            CERTIFICATE OF SERVICE
  2         I hereby certify under penalty of perjury that the foregoing Plaintiffs’ Notice
  3   of Deposition to Special Agent Justin Palmerton is complete and correct, and was
  4   served on Defendants’ counsel via electronic mail and First Class Mail on April 19,
  5   2022 to the following:
  6         Victor Rodgers
            Maxwell Coll
  7         Andrew Brown
            Assistant United States Attorney
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 10         Fax 213.894.0142
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 12

 13
                                                    Robert Frommer
 14                                                 Attorney for Plaintiffs
 15

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                                                3                        Exhibit J
              PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT JUSTIN PALMERTON72
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 16   PAUL SNITKO, JENNIFER                    Case No. 2:21-cv-04405-RGK-MAR
      SNITKO, JOSEPH RUIZ, TYLER
 17   GOTHIER, JENI VERDON-                   PLAINTIFFS’ NOTICE OF
      PEARSONS, MICHAEL STORC,                DEPOSITION OF SPECIAL
 18   and TRAVIS MAY,                         AGENT LYNN ZELLHART
 19                          Plaintiffs,
                                              DISCOVERY MATTER
 20               v.
 21   UNITED STATES OF AMERICA,               Date:     May 6, 2022
      TRACY L. WILKISON, in her               Time:     9:00 A.M. PDT
 22   official capacity as Acting United      Location: Virtually, via Zoom
      States Attorney for the Central
 23   District of California, and KRISTI
      KOONS JOHNSON, in her official          Judge: Hon. R. Gary Klausner
 24   capacity as an Assistant Director of
      the Federal Bureau of Investigation,    Complaint Filed: May 27, 2021
 25
                            Defendants.       Amended Complaint Filed: June 9, 2021
 26

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                                                                     Exhibit J
               PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT LYNN ZELLHART
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Case 2:21-cv-04405-RGK-MAR Document 95-11 Filed 04/21/22 Page 6 of 7 Page ID
                                 #:1612


  1         PLEASE TAKE NOTICE that, pursuant to Rule 30 of the Federal Rules of
  2   Civil Procedure, Plaintiffs, by and through their counsel, will take the oral
  3   deposition of Special Agent Lynn Zellhart before a certified court reporter
  4   authorized to administer oaths and record via stenographic means. The deposition
  5   will take place virtually, via Zoom at 9:00 A.M. PDT on May 6, 2022. The
  6   deposition will continue from day to day subject to appropriate adjournments until
  7   such time as it is completed.
  8   Dated: April 19, 2022
                                                Respectfully Submitted,
  9

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 11                                                                                     s

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                                                 Tel. (703) 682-9320
 19
                                                 *Admitted pro hac vice.
 20                                              ^Motion for pro hac vice pending.

 21                                              THE VORA LAW FIRM, P.C.
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 25
                                                 Attorneys for Plaintiffs
 26

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                                                 2                          Exhibit J
                PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT LYNN ZELLHART 74
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                                 #:1613


  1                            CERTIFICATE OF SERVICE
  2         I hereby certify under penalty of perjury that the foregoing Plaintiffs’ Notice
  3   of Deposition to Special Agent Lynn Zellhart is complete and correct, and was
  4   served on Defendants’ counsel via electronic mail and First Class Mail on April 19,
  5   2022 to the following:
  6         Victor Rodgers
            Maxwell Coll
  7         Andrew Brown
            Assistant United States Attorney
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 14                                                 Robert Frommer
                                                    Attorney for Plaintiffs
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                                                3                        Exhibit J
                PLAINTIFFS’ NOTICE OF DEPOSITION TO SPECIAL AGENT LYNN ZELLHART 75
